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                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

TIM BRECHT,                                          §
LESA WALTON                                          §
                                                     §
V.                                                   §    CIVIL ACTION NO. ________________
                                                     §
STATE FARM LLOYDS                                    §


                               INDEX OF STATE COURT PLEADINGS



1.      Civil Case Information Sheet                                                  06/21/2016

2.      Plaintiffs' Original Petition                                                 06/21/2016

3.      Citation Issued for State Farm Lloyds                                         06/23/2016

4.      Return of Citation/Affidavit of Delivery of Citation                          07/19/2016

5.      Original Answer of Defendant State Farm Lloyds                                07/29/2016

6.      Certified Payment and Receipt                                                 08/05/2016

7.      Notice of Removal                                                 (To be filed 08/10/2016)




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                                   CAUSE NO. _ _ _ _ _ __


TIM BRECHT,                                       §             IN THE DISTRICT COURT
LESA WALTON,                                      §
                                                  §
         Plaintiffs,                              §
                                                  §
vs.                                               §             ELLIS COUNTY, TEXAS
                                                  §
STATE FARM LLOYDS,                                §
                                                  §
         Defendant.                               §                    JUDICIAL DISTRICT


                                 PLAINTIFFS' ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, TIM BRECHT and LESA WALTON (the "Plaintiffs") and complains of

STATE FARM LLOYDS ("STATE FARM" and/or "Defendant"). In support of such claims

and causes of action, Plaintiffs respectfully show unto this Honorable Court and Jury as follows:

                                  I. DISCOVERY CONTROL PLAN

         1.1         Discovery in this case should be conducted in accordance with a Level 3 tailored

discovery control plan pursuant to Texas Rule of Civil Procedure 190.4. Plaintiffs affirmatively

plead this suit is not governed by the expedited-actions process in Texas Rule of Civil Procedure

169, as Plaintiffs seek monetary relief over $100,000.

                                              II. PARTIES

         2.1         Plaintiffs, TIM BRECHT and LESA WALTON, are residents of Ellis County,

Texas.

               2.2     Defendant, STATE FARM LLOYDS, is a domestic company engaged in the

business of insurance in this state. It may be served with process by serving its registered agent,




PLAINTIFFS' ORIGINAL PETITION                                                                 PAGE -1-
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Corporation Service Company, by certified mail, return receipt requested, at 211 East ih Street,

Suite 620, Austin, Texas 78701-3218, or wherever it may be found. Plaintiffs request citation be

issued at this time.

                                III. JURISDICTION AND VENUE

        3.1     This Court has jurisdiction over this case in that the amount m controversy

exceeds the minimum jurisdictiona1limits of this Court.

        3.2     Venue is proper in Ellis County, Texas, because all or a substantial part of the

events giving rise to the lawsuit occurred in this county, and the insured property that is the basis

of this lawsuit is located in Ellis County, Texas.

                        IV. AGENCY AND RESPONDEAT SUPERIOR

        4.1     Whenever in this petition it is alleged that Defendant did any act or thing, it is

meant that Defendant or its agents, officers, servants, employees, or representatives did such a

thing. It was also done with the full authorization or ratification of Defendant or done in the

normal routine, course and scope of the agency or employment of Defendant or its agents,

officers, servants, employees, or representatives.

                                V. CONDITIONS PRECEDENT

        5.1     All conditions precedent to recovery have been performed, waived, or have

occurred.

                         VI. FACTS APPLICABLE TO ALL COUNTS

        6.1     The Plaintiffs are the owners of a Texas Homeowner's Policy number

58CGW5652 issued by STATE FARM (the "Policy").




PLAINTIFFS' ORIGINAL PETITION                                                                PAGE   -2-
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         6.2    The Plaintiffs own the insured property, which is specifically located at 304 East

Marvin Avenue, Waxahachie, Texas 75165 (the "Property").               The Property is officially

designated as an historical property by the city of Waxahachie.

         6.3    STATE FARM, or its agent(s), sold the Policy, msunng and covenng the

Property against damages from storm-related events, to Plaintiffs.

         6.4    On or about November 17, 2015, the Plaintiffs experienced a storm that damaged

the Property. In its track, the storm left behind widespread damage to the Property, Plaintiffs'

home.

         6.5    The Plaintiffs timely submitted a claim to STATE FARM.            STATE FARM

assigned various adjusters to adjust the claim. However, STATE FARM and its agents were not

diligent in investigating Plaintiffs' loss.   STATE FARM failed to timely and accurately

investigate the covered loss.     STATE FARM assigned claim number 43765L956 to the

Plaintiffs' claim.

         6.6    Ultimately, STATE FARM, inspected the Plaintiffs' property after the storm.

During the inspection, STATE FARM, was tasked with the responsibility of conducting a

thorough and reasonable investigation of the Plaintiffs' claim, including determining the cause

of, and then quantifying the damage done to the Plaintiffs' home.

         6.7    STATE FARM prepared a repair estimate which did not account for all of the

covered damages. Further, even the damages that were accounted for were vastly under-scoped.

Thus, Defendant STATE FARM demonstrated it did not conduct a thorough investigation of the

claim.

         6.8    Defendant STATE FARM failed to fairly evaluate and adjust the Plaintiffs' claim

as they are obligated to do under the Policy and Texas law. By failing to properly investigate the



PLAINTIFFS' ORIGINAL PETITION                                                             PAGE -3-
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claim and wrongfully denying full coverage to the Plaintiffs, STATE FARM engaged in unfair

settlement practices by misrepresenting material facts to the Plaintiffs.

        6.9      Defendant STATE FARM failed to perform its contractual duty to adequately

compensate the Plaintiffs under the terms of the Policy. Specifically, Defendant STATE FARM

failed and refused to properly pay proceeds for the Policy, although due demand was made for

proceeds to be paid in an amount sufficient to cover the damaged property, and all conditions

precedent to recovery upon the Policy had been carried out and accomplished by the Plaintiffs.

Defendant STATE FARM's conduct constitutes a material breach of the insurance contract.

        6.10     Defendant STATE FARM misrepresented to the Plaintiffs that the damage to the

Property was not covered under the Policy, even though the damage was caused by a covered

peril. Defendant's conduct constitutes a violation of the Unfair Settlement Practices section of

the Texas Insurance Code. Tex. Ins. Code§ 541.060(a)(l).

        6.11     Defendant STATE FARM's repair estimate under-scoped the covered damages

and misrepresented the benefits under the Policy, which promised to pay the amount of loss to

the Plaintiffs. Defendant's conduct constitutes a violation of the Misrepresentation Regarding

Policy or Insurer section Texas Insurance Code. Tex. Ins. Code§ 541.05l(l)(B).

        6. I 2   Defendant STATE FARM failed to make an attempt to settle the Plaintiffs' claims

in a prompt and fair manner, although they were aware of its liability to the Plaintiffs was

reasonably clear under the Policy. Defendant's conduct constitutes a violation of the Unfair

Settlement Practices section of the Texas Insurance Code. Tex. Ins. Code§ 541.060(a)(2)(A).

        6.13     Defendant STATE FARM failed to explain to the Plaintiffs why full payment was

not being made. Furthermore, Defendant did not communicate that future payments would be

forthcoming to pay for the entire losses covered under the Policy, nor did Defendant provide any



PLAINTIFFS' ORIGINAL PETITION                                                           PAGE -4-
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explanation for the failure to adequately settle the Plaintiffs' claims.       Tex. Ins. Code §

541.060(a)(3).

        6.14     Defendant STATE FARM failed to affirm or deny coverage of the Plaintiffs'

claim within a reasonable time. Specifically, the Plaintiffs did not receive timely indication of

acceptance or rejection, regarding the full and entire claim, in writing from Defendants.

Defendant's conduct constitutes a violation of the Unfair Settlement Practices section of the

Texas Insurance Code. Tex. Ins. Code§ 541.060(a)(4).

        6.15     Defendant STATE FARM refused to fully compensate the Plaintiffs under the

terms of the Policy, even though Defendant failed to conduct a reasonable investigation.

Specifically, Defendant STATE FARM performed a results/outcome-oriented investigation of

Plaintiffs' claim, which resulted in a biased, unfair and inequitable evaluation of the Plaintiffs'

losses to the Property. Defendant's conduct constitutes a violation of the Unfair Settlement

Practices section of the Texas Insurance Code. Tex. Ins. Code§ 541.060(a)(7).

        6.16     Defendant STATE FARM misrepresented the insurance policy sold to the

Plaintiffs by (I) making an untrue statement of material fact regarding coverage; (2) failing to

state a material fact necessary to make other statements made not misleading, considering the

circumstances under which the statements were made; (3) making a statement in a manner that

would mislead a reasonably prudent person to a false conclusion of a material fact regarding

coverage; (4) making a material misstatement of law; and/or (5) failing to disclose a matter

required by law to be disclosed, including failing to make a disclosure in accordance with

another provision of the Texas Insurance Code, in violation of Section 541.061 of the same.

        6.17     Defendant STATE FARM failed to meet its obligation under the Texas Insurance

Code regarding timely acknowledging Plaintiffs' claim, beginning an investigation of the



PLAINTIFFS' ORIGINAL PETITION                                                              PAGE -5-
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Plaintiffs' claim, and requesting all information reasonably necessary to investigate the

Plaintiffs' claim within the statutorily mandated deadline.     Defendant's conduct constitutes a

violation of the Prompt Payment of Claims subchapter of the Texas Insurance Code. Tex. Ins.

Code§ 542.055.

        6.18    Defendant STATE FARM failed to accept or deny the Plaintiffs' full and entire

claim within the statutory mandated deadline of receiving all necessary information.

Defendant's conduct constitutes a violation of the Prompt Payment of Claims subchapter of the

Texas Insurance Code. Tex. Ins. Code§ 542.056.

        6.19    Defendant STATE FARM failed to meet its obligations under the Texas

Insurance Code regarding payment of claims without delay. Specifically, Defendant has delayed

full payment of Plaintiffs' claim longer than allowed and, to date, the Plaintiffs have not yet

received full payment for their claim. Defendant's conduct constitutes a violation of the Prompt

Payment of Claims subchapter of the Texas Insurance Code. Tex. Ins. Code§ 542.058.

        6.20    From the point in time the Plaintiffs' claim was presented to Defendant STATE

FARM, the liability of Defendant to pay the full claim in accordance with the terms of the Policy

was reasonably clear. However, Defendant STATE FARM has refused to pay the Plaintiffs in

full, despite there being no basis whatsoever on which a reasonable insurance company would

have relied to deny the fully payment. Defendant's conduct constitutes a breach of the common

law duty of good faith and fair dealing.

        6.21    As a result of Defendant's wrongful acts and omissions, the Plaintiffs were forced

to retain the professional services of the attorney and law firm who are representing the Plaintiffs

with respect to these causes of action. On or about April 06, 2016, the Plaintiffs' counsel sent a

letter of representation requesting various documents related to the storm, including a certified



PLAINTIFFS' ORIGINAL PETITION                                                               PAGE -6-
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true copy of the complete policy covering the property on the date ofloss, with all endorsements.

On April 28, 2016, ST AIE FARM Claim Specialist John DeSantis wrote a letter to the

Plaintiff's counsel, refusing to provide the insureds' own policy in violation of Texas law.

Instead Mr. DeSantis advised that a copy of a policy should have been provided to the Plaintiffs

when they purchased their insurance. To the date of the filing of this Petition, STATE FARM

has refused the simplest request to provide its insureds a copy of the certified true policy in

question, instead choosing to create an adversarial relationship with its insureds.

        6.22    On or about April 07, 2016, the Plaintiffs' counsel also sent a Texas Deceptive

Trade Practices Act ("DTPA") and Texas Insurance Code Notice and Demand letter the

Defendant. The letter informed Defendant of potential violations under the DIPA and Insurance

Code related to its handling and adjusting of Plaintiffs' claim and potential claims, including

attorney's fees, statutory penalty interest, and additional damages arising from those violations.

The Notice and Demand letter provided Defendant with the statutorily mandated sixty days to

respond, and an opportunity to resolve the claim without extended litigation costs. Defendant

made no attempt to respond to the Demand or settle the claim; satisfying the statutory

requirement that Defendants either deny a DIPA and Insurance Code Demand or be allotted a

sixty time period to attempt to resolve the claim before a petition is to be filed.

        6.23    To date, Defendant STATE FARM has failed to and refused to pay the Plaintiffs

for the proper repair of the property. The Plaintiffs' experience is not an isolated case. The acts

and omissions of Defendants committed in this case, or similar acts and omissions, occur with

such frequency that they constitute a general business practice of Defendants with regard to

handling this type of claim. Defendants' entire process is unfairly designed to reach favorable

outcomes for the company at the expense of the policyholder.



PLAINTIFFS' ORIGINAL PETITION                                                              PAGE-7-
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                                           VII. COUNTS

        7.1     Plaintiffs incorporate by reference all facts, statements, and allegations set forth in

all previous paragraphs, as if set forth in full in each cause of action that follows.

        7.2     COUNT 1- BREACH OF CONTRACT

                a.      At the time of the loss, Plaintiffs had valid, enforceable insurance contract

        in place, issued by Defendant (the "Policy"). Plaintiffs were the insureds of the contract.

        Plaintiffs fully performed their contractual obligations by making premium payments as

        required by the insurance contract, and at all times complied fully with all material

        provisions of the Policy.

                b.      According to the Policy that Plaintiffs purchased, Defendant STATE

        FARM had the duty to investigate and pay Plaintiffs' policy benefits for claims made for

        covered damages, including additional benefits under the Policy, resulting from the

        damages.     As a result of these damages, which result from covered perils under the

        Policy, the Plaintiffs' home has been damaged.

                c.      Defendant STATE FARM's failure to properly investigate and refusal, as

        described above, to pay the adequate compensation as it is obligated to do under the

        terms of the Policy in question and under the laws of the State of Texas, constitutes a

        material breach of Defendant STATE FARM's contract with Plaintiffs. As a result of

        this breach of contract, Plaintiffs have suffered the damages that are described in this

        Petition, the producing cause of which is Defendant's actions.

        7.3     COUNT 2- PROMPT PAYMENT OF CLAIMS; VIOLATION OF TEXAS
                         INSURANCE CODE §542, ET SEQ.

                a.      Under the Texas Insurance Code, Defendant STATE FARM had a duty to

        investigate and pay Plaintiffs' claim under the Policy in a timely manner. Defendant


PLAINTIFFS' ORIGINAL PETITION                                                                  PAGE -8-
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        STATE FARM violated Section 542 of the Texas Insurance Code by not timely:

        (I) commencing its investigation of the claim; (2) requesting information needed to

        investigate the claim; (3) communicating with its insured regarding the status of its

        investigation, including failing to accept or reject Plaintiffs' claim in writing within the

        statutory timeframe; (4) conducting its investigation of the claim; and (5) paying the

        claim.

                 b.     All of the above-described acts, omissions, and failures of Defendant is a

        producing cause of Plaintiffs' damages that are described in this petition. Defendant

        STATE FARM is therefore liable under Section 542 for penalty interest at the rate set

        forth in the statute, and attorney's fees taxed as costs of this suit.

                 c.     Additionally, if it is determined Defendant STATE FARM owes Plaintiffs

        any additional money on Plaintiffs' claim, then Defendant has automatically violated

        Section 542 in this case.

        7.4      COUNT 3- UNFAIR INSURANCE PRACTICES; VIOLATION OF
                          TEXAS INSURANCE CODE§ 541, ET SEQ.

                 a.     As an insurer, Defendant STATE FARM owes statutory duties to

        Plaintiffs as its insured.   Specifically, the Texas Insurance Code prohibits Defendant

        STATE FARM from engaging in any unfair or deceptive act or practice in the business of

        msurance.

                 b.     By its acts, omissions, failures, and conduct, Defendant STATE FARM

        has engaged in unfair and deceptive acts or practices in the business of insurance in

       violation of 541 of the Texas Insurance Code.               Such violations include, without

        limitation, all the conduct described in this petition, plus Defendant's unreasonable

        delays and under-scoping in the investigation, adjustment, and resolution of the


PLAINTIFFS' ORIGINAL PETITION                                                               PAGE -9-
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        Plaintiffs' claim, plus Defendant's failure to pay for the proper repair of the Plaintiffs'

        home on which liability had become reasonably clear. They further include Defendant's

        failure to give Plaintiffs the benefit of the doubt. Specifically, Defendant STATE FARM

        are guilty of the following unfair insurance practices:

                         1.     Misrepresenting to Plaintiffs pertinent facts or policy provisions

                relating to the coverage at issue;

                         11.    Failing to attempt in good faith to effectuate a prompt, fair, and

                equitable settlement of claim submitted in which liability had become reasonably

                clear;

                         ill.   Failing to provide promptly to a policyholder a reasonable

                explanation of the basis in the insurance policy in relation to the facts or

                applicable law for the denial of a claim or for the offer of a company's settlement.

                         rv.    Failing to affirm or deny coverage of Plaintiffs' claim within a

                reasonable time;

                         v.     Refusing to pay Plaintiffs' claim without conducting a reasonable

                investigation with respect to the claim; and

                         Vl.    Misrepresenting the insurance policy sold to Plaintiffs by (I)

                making an untrue statement of material fact regarding coverage; (2) failing to

                state a material fact necessary to make other statements made not misleading,

                considering the circumstances under which the statements were made; (3)

                making a statement in a manner that would mislead a reasonably prudent person

                to a false conclusion of a material fact regarding coverage; (4) making a material

                misstatement of law; and/or (5) failing to disclose a matter required by law to be



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                disclosed, including failing to make a disclosure m accordance with another

                provision of the Texas Insurance Code.

                c.      Defendant STATE FARM has also breached the Texas Insurance Code

        when it breached its duty of good faith and fair dealing.           Defendant's conduct as

        described herein has resulted in Plaintiffs' damages that are described in this petition.

                d.      All of the above-described acts, omissions, and failures of Defendant is a

       producing cause of Plaintiffs' damages that are described in this petition, and were done

        knowingly and/or intentionally as that term is used in the Texas Insurance Code.

        7.5     COUNT 4- DTPA; VIOLATIONS OF TEXAS BUSINESS AND
                         COMMERCE CODE§ 17.46, ET SEQ.

                a.      Plaintiffs are individuals who sought and acquired a good, the Policy that

        is the subject of the suit, by purchase, from the Defendant.         They also sought and

        acquired the service and adjustment of claims under that policy, a service that was

        "furnished in connection with the sale or repair of goods", as defined by the DTPA. This

        qualifies Plaintiffs as consumers of goods and services provided by Defendant as defined

        by the Texas Deceptive Trade Practices Act ("DIP A"), codified under Chapter 17 of the

        Texas Business and Commerce Code. The Plaintiffs have met all conditions precedent to

        bringing this cause of action against Defendants. Specifically, Defendant's violations of

        the DIP A include without limitation, the following matters.

                b.      By its acts, omissions, failures, and conduct that are described in this

        petition, Defendant STATE FARM has committed false, misleading, or deceptive acts or

        practices in violation of§ 17.46(b)(2), (3), (5), (7), (II), (12), (13), (20), and (24) of the

        DIPA. In this respect, Defendant's violations include without limitation:




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                        1.      Unreasonable    delays    m the     investigation,   adjustment and

                resolution of Plaintiffs' claim, during which Defendant employed a senes of

                alleged "independent adjusters" under the control of Defendant, that caused

                confusion to Plaintiffs as to whom was representing whom, and had whose best

                interests in mind.    This gives Plaintiffs the right to recover under Section

                l7.46(b )(2) and (3) of the DTPA;

                        11.     As described in this Petition, Defendant represented to Plaintiffs

                that the insurance policy and Defendant's adjusting and investigative services had

                characteristics, uses, or benefits that it did not have, which gives Plaintiffs the

                right to recover under Section 17 .46(b )( 5) of the DTP A;

                        ill.    As described in this Petition, Defendant represented to Plaintiffs

                that the insurance policy and Defendant's adjusting and investigative servrces

                were of a particular standard, quality, or grade when they were of another in

                violation of Section 17.46(b)(7) of the DTPA;

                        rv.     As described in this petition, Defendant represented to Plaintiffs

                that the insurance policy and Defendant's adjusting and investigative servrces

                conferred or involved rights, remedies, or obligations that it did not have, which

                gives Plaintiffs the right to recover under Section 17 .46(b )( 12) of the DTP A;

                        v.      Defendant knowingly made false or misleading statements of fact

                concerning the need for replacement of roofing systems, which gives Plaintiffs the

                right to recover under Section l7.46(b )(13) of the DTPA;

                        Vl.     Defendant breached an express and /or implied warranty that the

                damage caused by the subject storm would be covered under the msurance



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                policies. This entitles the Plaintiffs to recover under Sections l7.46(b )(!2) and

                (20) and 17.50(a)(2) of the DTPA;

                        vn.     Defendant failed to disclose information concerning the insurance

                policy which was known at the time of the transaction where the failure to

                disclose such information was intended to induce the Plaintiffs into a transaction

                into which the Plaintiffs would not have entered had the inforn1ation been

                disclosed. This gives Plaintiffs the right to recover under Section 17.46(b)(24) of

                the DTPA;

                        vn1.    Defendant's   actions,   as   described   m    this   petition,   are

                unconscionable in that it took advantage of Plaintiffs' lack of knowledge, ability,

                and experience to a grossly unfair degree. Defendant's unconscionable conduct

                gives Plaintiffs the right to relief under Section l7.50(a)(3) of the DTPA; and

                        rx.     Defendant's conduct, acts, omissions, and failures as described in

                this petition, are unfair practices in the business of insurance in violation of

                Section 17.50(a)(4) of the DTPA, under which violations of Chapter 541 of the

                Texas Insurance Code are an enabling statute.

                c.      All of the above-described acts, omissions, and failure of Defendant is a

        producing cause of Plaintiffs' damages that are described in this petition. All of the

        above-described acts, omissions, and failures of Defendant were done knowingly and

        intentionally, as those terms are used and defined in the Texas Deceptive Trade Practices

        Act.

        7.6     COUNT 5- BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING




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                  a.        By its acts, omissions, failures, and conduct, Defendant has breached its

        common law duty of good faith and fair dealing by failing to pay the proper amounts on

        Plaintiffs' entire claim without any reasonable basis, and by failing to conduct a

        reasonable investigation to determine whether there was a reasonable basis for this

        denial.        Defendant has also breached this duty by unreasonably delaying payment of

        Plaintiffs' entire claim, and by failing to settle Plaintiffs' entire claim because Defendant

        knew or should have known that it was reasonably clear that the claim was covered.

        These acts, omissions, failures, and conduct of Defendant is a proximate cause of

        Plaintiffs' damages.

        7.7       COUNT 6-MISREPRESENTATION

                  a.        Defendant STATE FARM is liable to Plaintiffs under the theories of

        intentional misrepresentation, or in the alternative, negligent misrepresentation.

        Defendant STATE FARM did not inform Plaintiffs of certain exclusions in the policy.

        Misrepresentations were made by Defendant STATE FARM or its agents, with the

        intention that they should be relied upon and acted upon by Plaintiffs, who relied on the

        misrepresentations to his detriment.        As a result, Plaintiffs have suffered damages,

        including but not limited to loss of the Property, loss of use of the Property, mental

        anguish and attorney's fees.         Defendant STATE FARM is liable for these actual

        consequential and penalty-based damages.

                                   VIII. WAIVER AND ESTOPPEL

        8.1       Defendant is waived and is estopped from asserting any coverage defenses,

conditions, exclusions, or exceptions to coverage not contained in any reservation of rights letter

to the Plaintiffs.



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                            IX. DAMAGES I CLAIMS FOR RELIEF

        9.1     All the damages described and sought in this petition are within the jurisdictional

limits of the Court and exceed an aggregate amount of monetary relief over $100,000 but not

more than $200,000.

        9.2     The above described acts, omissions, failures, and conduct of Defendants caused

Plaintiffs' damages, which include, without limitation, (1) the cost to properly repair Plaintiffs'

home, (2) any investigative and engineering fees incurred by Plaintiffs, (3) court costs, and (4)

attorney fees. The Plaintiffs are entitled to recover consequential damages from Defendants'

breach of contract. The Plaintiffs are also entitled to recover the amount of Plaintiffs' claim plus

an 18% per annum penalty on that claim against Defendants as damages under Section 542 of the

Texas Insurance Code, plus prejudgment interest.

        9.3     Defendant has also "knowingly" and "intentionally" committed deceptive trade

practices and unfair insurance practices as those terms are defined in the applicable statutes.

Because of Defendant's knowing and intentional misconduct, Plaintiffs are entitled to additional

damages as authorized by Section 17.50(b)(l) of the DTPA, which allow recovery of up to three

times economic damages. Where there is an enabling statute for the DTPA, as there is here with

the Texas Insurance Code, Plaintiffs are entitled to recovery of up to three times actual damages.

Plaintiffs are further entitled to the additional damages that are authorized by Section 541 of the

Texas Insurance Code.

        9.4     Defendant's breach of its duty of good faith and fair dealing owed to Plaintiffs

was done intentionally, with a conscious indifference to the rights and welfare of Plaintiffs, as

defined in Chapter 41 of the Texas Civil Practice and Remedies Code. These violations by

Defendant is the type of conduct which the State of Texas protects its citizens against by the



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imposition of exemplary damages. Therefore, Plaintiffs seek the recovery of exemplary damages

in the amount to be determined by the finder of fact that is sufficient to punish Defendant for its

wrongful conduct and to set an example to deter Defendant and others similarly situated from

committing similar acts in the future.

                                     X. ATTORNEY'S FEES

        I 0.1   As a result of Defendant's conduct that is described in this petition, Plaintiffs have

been forced to retain the undersigned law firm and attorney to prosecute this action, and has

agreed to pay reasonable attorney's fees. Plaintiffs are entitled to recover these attorney's fees

under Chapter 38 of the Texas Civil Practice and Remedies Code, Section 541 and 542 of the

Texas Insurance Code, and Section 17.50 of the DTP A.

                                         XI. DISCOVERY

        11.1    Under Texas Rule of Civil Procedure 194, the Defendant is requested to disclose

within fifty (50) days of service of this request, the information of material described in Texas

Rule of Civil Procedure 194.2(a) through (1). Plaintiffs' Requests for Disclosure, Requests for

Production, Interrogatories, and Requests for Admissions are attached, for service at the time of

service of this petition, and incorporated herein by reference.

                                      XII. JURY DEMAND

        12.1    Plaintiffs demand a jury trial and tenders the appropriate fee with this petition.

                                          XIII. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs TIM BRECHT and LESA

WALTON pray that Defendant STATE FARM LLOYDS be cited to appear and answer herein,

and that upon trial hereof, said Plaintiffs have and recover such sums as would reasonably and

justly compensate Plaintiffs in accordance with the rules of law and procedure, as to economic



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damages, actual damages, consequential damages, statutory penalty interest, treble damages

under the Texas Deceptive Trade Practices Act and Texas Insurance Code, and all punitive and

exemplary damages as may be found. In addition, Plaintiffs request the award of attorney's fees

for the trial and any appeal of this case, for all costs of court, for prejudgment and post-judgment

interest, at the highest rate allowed by law, and for any other and further relief, at law or in

equity, to which Plaintiffs may show themselves to be justly entitled.



                                                     Respectfully submitted,

                                                     THE CORONA LAW FIRM, PLLC


                                                     By: /s/ Jesse S. Corona

                                                     JesseS. Corona
                                                     Texas BarNo. 24082184
                                                     Southern District Bar No. 2239270
                                                     521 N Sam Houston Pkwy E, Ste. 420
                                                     Houston, Texas 77060
                                                     Office: 281.882.3531
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                                                     Jesse@theCoronaLawfirm.com

                                                     ATTORNEY FOR PLAINTIFFS




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                       PLAINTIFFS' REQUESTS FOR DISCLOSURE
                        TO DEFENDANT, STATE FARM LLOYDS

TO:    STATE FARM LLOYDS, Defendant

        Pursuant to Rule 194, you are requested to disclose, within fifty (50) days of service of
this request, the information requested below.

                                                    Respectfully submitted,

                                                    THE CORONA LAW FIRM, PLLC


                                                    By: /s/ JesseS. Corona

                                                    JesseS. Corona
                                                    Texas BarNo. 24082184
                                                    Southern District Bar No. 2239270
                                                    521 N Sam Houston Pkwy E, Ste. 420
                                                    Houston, Texas 77060
                                                    Office: 281.882.3531
                                                    Facsimile: 713.678.0613
                                                    Jesse@theCoronaLawfirrn.com

                                                    ATTORNEY FOR PLAINTIFF


                     REQUESTS FOR DISCLOSURE TO DEFENDANT

REQUEST FOR DISCLOSURE 194.2(a): The correct names of the parties to the lawsuit.
RESPONSE:

REQUEST FOR DISCLOSURE 194.2(b):                Name, address, and telephone number of any
potential parties.
RESPONSE:

REQUEST FOR DISCLOSURE 194.2(c): The legal theories and, in general, the factual basis
for your claims or defenses.
RESPONSE:

REQUEST FOR DISCLOSURE 194.2(d):                 The amount and any method of calculating
economic damages.
RESPONSE:




PLAINTIFFS' REQUEST FOR DISCLOSURE                                                      PAGE -18-
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REQUEST FOR DISCLOSURE 194.2(e): The name, address, and telephone number of
persons having knowledge of relevant facts, and a brief statement of each identified person's
connection with the case.
RESPONSE:

REQUEST FOR DISCLOSURE 194.2(f): For any testifying expert:
     (a) the expert's name, address, and telephone number;
     (b) the subject matter on which the expert will testify;
     (c) the general substance of the expert's mental impressions and opinions and a brief
         summary of the basis for them, or if the expert is not retained by, employed by, or
         otherwise subject to your control, documents reflecting such information;
     (d) if the expert is retained by, employed by, or otherwise subject to your control:
              (i)    all documents, tangible things, reports, models, or data compilations that
                     have been provided to, reviewed by, or prepared by or for the expert in
                     anticipation of the expert's testimony; and
              (ii)   the expert's current resume and bibliography.
RESPONSE:

REQUEST FOR DISCLOSURE 194.2(g): Any indemnity or insurance agreement under
which any person/entity may be liable to satisfy part or all of a judgment rendered in the action
or to indemnify or reimburse for payments made to satisfy the judgment.
RESPONSE:

REQUEST FOR DISCLOSURE 194.2(h): Any settlement agreements.
RESPONSE:

REQUEST FOR DISCLOSURE 194.2(i): Any witness statements.
RESPONSE:

REQUEST FOR DISCLOSURE 194.2(j): All medical records and bills that are reasonably
related to the injuries or damages asserted or, in lieu thereof, an authorization permitting the
disclosure of such medical records and bills.
RESPONSE:

REQUEST FOR DISCLOSURE 194.2(1): The name, address and telephone number of any
person who may be designated as a responsible third party.
RESPONSE:




PLAINTIFFS' REQUEST FOR DISCLOSURE                                                      PAGE -19-
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                  PLAINTIFFS' FIRST REQUESTS FOR PRODUCTION
                      TO DEFENDANT, STATE FARM LLOYDS


TO:    STATE FARM LLOYDS, Defendant

        NOW COMES, TIM BRECHT and LESA WALTON, Plaintiffs in the above styled and
numbered cause, and requires that STATE FARM LLOYDS, Defendant, answer the following
Requests for Production pursuant to Rule 196.3 of the Texas Rules of Civil Procedure, and
Plaintiffs requires that answers to same and copies of the original documents be served upon
THE CORONA LAW FIRM, PLLC. Pursuant to Rule 196.3, the documents must be produced as
they are kept in the usual course of business, or organized and labeled to correspond to the
requests for production. Pursuant to Rule 196.2, a Response to these Requests shall be served
within fifty (50) days after receipt of the Requests.

                                                   Respectfully submitted,

                                                   THE CORONA LAW FIRM, PLLC


                                                   By: /s/ JesseS. Corona

                                                   Jesse S. Corona
                                                   Texas BarNo. 24082184
                                                   Southern District Bar No. 2239270
                                                   521 N Sam Houston Pkwy E, Ste. 420
                                                   Houston, Texas 77060
                                                   Office: 281.882.3531
                                                   Facsimile: 713.678.0613
                                                   Jesse@theCoronaLawfirm.com

                                                   ATTORNEY FOR PLAINTIFF

                               DEFINITIONS AND INSTRUCTIONS

      Pursuant to the provisions of TEX. R. Civ. P. 196, you are hereby requested to produce the
below-designated documents.
      These Requests are to be considered as continuing, and you are requested to provide by
way of supplemental answers such additional information as you or any other person acting on
your behalf may obtain which will augment or otherwise modify your response given to the
Request below. Such supplemental responses are to be filed and served upon this party
immediately upon receipt of such information.
      The following terms shall have the meaning indicated below:

       a. "Person" means natural persons, corporations, partnerships, sole proprietorships,
          unions, associations, federations or any other kind of entity.


PLAINTIFFS' REQUEST FOR PRODcCTION                                                     PAGE -20-
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       b. "Document" means any printed, typewritten, mechanically or otherwise recorded
          matter of whatever character including but not without limitation, letters, purchase
          orders, memoranda, telegrams, notes, catalogues, brochures, diaries, reports,
          calendars, inter- and intra-office communications, statement, investigative reports,
          announcements, depositions, answers to interrogatories, pleadings, judgments,
          newspaper articles, photographs, tape recordings, motion pictures and any carbon or
          photographic copies of any such material if you do not have custody or control of the
          original. If any document requested to be identified was, but is no longer in your
          possession or control or is no longer in existence, state whether it is (I) missing or
          lost; (2) destroyed; (3) transferred voluntarily or involuntarily to others, and if so, to
          whom, or (4) otherwise disposed of, and in each instance explain the circumstances
          surrounding an authorization of such disposition thereof, state the approximate date
          thereof and describe its contents.
       c. "You" and "Your" shall mean the party to whom these questions are directed as well
          as agents, employees, attorneys, investigators and all other persons acting for said
            "party."
       d. The te1m "communication" means any oral or written utterance, notation, or
          statement of any nature whatsoever, by and to whomsoever made, including,
          correspondence, conversations, dialogues, discussions, interviews, consultations,
          agreements, and other understandings, among two or more persons.

                       PRIVILEGED OR PROPRIETARY DOCUMENTS

       If any document requested is withheld on the basis of any claim of privilege or work
product, or otherwise, You are requested to submit in lieu of any such information a written
statement, no later than the date of the commencement of the document production:

       a.      Identifying the person or persons who prepared or authored the document and, if
               applicable, the person or persons to whom the document was sent or shown;
       b.      Specifying the date on which the document was prepared or transmitted;
       c.      Identifying the subject matter of the document;
       d.      Describing the nature of the document (e.g., letter, telegram, etc.);
       e.      Stating the number of pages, attachments, and appendices;
       f.      Stating the identity of each person who had access to, custody of, and who
               received a copy of the document;
       g.      Identifying the present custodian;
       h.      Stating the reason why the document was not produced;
       1.      Stating briefly why the document is claimed to be privileged or to constitute work
               product; and
       J.      Identifying the paragraph of this request to which the document relates.

       If any document relates in any way to a meeting or to any conversation, all participants in
the meeting or conversation are to be identified.




PLAINTIFFS' REQUEST FOR PRODcCTION                                                         PAGE-21-
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                      ELECTRONICALLY STORED INFORMATION

       For electronically stored information, please produce, no later than the date of the
commencement of the document production, a discovery log that details the type of information,
the source of information, the discovery request to which the information corresponds, and the
information's electronic ID number. Write all the electronically stored information to a
reasonably usable storage media, such as a CD, DVD, or Flash Drive.
       For electronically stored information, identify every source containing potentially
responsive information that You are not searching or producing.

                           LOST OR DESTROYED DOCUMENTS

       If any document requested has been lost, discarded, or destroyed, you are requested to
submit a written statement no later than the date of the commencement of the document
production, identifying as completely as possible each such document so lost, discarded or
destroyed. Identification of each such document shall include the date of disposal, manner of
disposal, reason for disposal, persons authorizing the disposal, persons having knowledge of the
disposal and persons disposing of the company.

                                     REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: The insurance policy in effect on the date of
Plaintiffs' claims(s) making the basis of this suit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 2: The entire claims investigation files generated and
maintained by Defendant in the ordinary course of business pertaining to Plaintiffs' claim(s)
making the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO.3: All training and educational materials which instruct
claims adjusters or claims handles in handling claims for coverage for property damage,
hurricane damage, hail, water damage, roof and/or wind damage under Defendant's
homeowners' insurance policies in Texas. This request is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 4: All training and educational materials which instruct
claims adjusters or claims handlers in handling claims for coverage for property damage,
hurricane damage, hail, water damage, roof and/or wind damage under Defendant's
homeowners' insurance policies in Texas. This request is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 5: All procedure or policy manuals or guides meant to
guide and assist Defendant's claims adjusters or claims handlers in handling claims for property
damage, inc! uding the criteria for and the process for eva! uating whether coverage exists under
Defendant's homeowners' insurance policies in Texas. This request is limited to the last five (5)
years.

PLAINTIFFS' REQUEST FOR PRODcCTION                                                      PAGE -22-
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RESPONSE:

REQUEST FOR PRODUCTION NO. 6: All procedure or policy manuals or guides meant to
guide and assist Defendant's claims adjusters or claims handlers in handling claims for property
damage, hurricane damage, hail, water damage, roof damages, and/or wind damage to the house,
including the criteria, for and the process for, evaluating whether coverage exists under
Defendant's homeowners insurance policies in Texas. This request is limited to the last five (5)
years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 7: All communications and documents including
electronic between Defendant and Plaintiffs regarding Plaintiffs' claim(s).
RESPONSE:

REQUEST FOR PRODUCTION NO. 8: All communications and documents, including
electronic, between Defendant and any third party regarding Plaintiffs' claim(s).
RESPONSE:

REQUEST FOR PRODUCTION NO. 9: All communications and documents, including
electronic, between Defendant and any other Defendant(s) regarding Plaintiffs' claims.
RESPONSE:

REQUEST FOR PRODUCTION NO. 10: All communications and documents, including
electronic, between Defendant's business departments, including all persons part of the
Defendant company, regarding Plaintiffs' claims.
RESPONSE:

REQUEST FOR PRODUCTION NO. 11: All communications and documents Defendant sent
to any other Defendant(s) in this cause of action regarding Plaintiffs or the property, after
Plaintiffs' claim(s) for coverage.
RESPONSE:

REQUEST FOR PRODUCTION NO. 12: All photographs, diagrams, drawings, or other
graphic depictions of Plaintiffs or the Property made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 13: Any and all documents, reports, data, emails, notes,
photos, videos, manuals, guides, and summaries regarding the insurance claim(s) made the basis
of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 14:                    All reports and other documents from
governmental agencies or offices regarding Plaintiffs' Property or containing officially kept
information regarding Plaintiffs' property.
RESPONSE:



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REQUEST FOR PRODUCTION NO. 15: Any and all claims files and claim reports,
including but not limited to notes, emails, data, photos, videos, manuals, guides, summaries and
claim documents, regarding all homeowner insurance claims made by Plaintiffs under Plaintiffs'
homeowner insurance policy/policies with Defendant, specifically regarding damage to the
exterior and interior of Plaintiffs' Property. This request is limited to the last ten (10) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 16: Any and all records and/or documents explaining
criteria utilized to qualify vendors for the "approved vendors list."
RESPONSE:

REQUEST FOR PRODUCTION NO. 17: Any and all records and/or documents maintained
by person(s) responsible for maintaining and updating the "approved vendors list."
RESPONSE:

REQUEST FOR PRODUCTION NO. 18: Any and all records and/or documents maintained
by person(s) responsible for creating the criteria utilized to qualify vendors, including contractors
and roofing companies, for the "approved vendors list."
RESPONSE:

REQUEST FOR PRODUCTION NO. 19: All documents, including reports, estimates, data,
emails, testing, sampling, videos, and photographs received by Defendant regarding inspections
of Plaintiffs' Property made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 20: Any and all records Defendant received, including
those obtained by way of deposition by written questions, regarding Plaintiffs' Property made the
basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 21: Any and all records or documents Defendant has
reviewed and/or obtained regarding Plaintiffs' Property made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 22: Any and all claim files Defendant has reviewed
and/or obtained regarding Plaintiffs' Property made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 23: Any and all claim files Defendant has reviewed
and/or obtained regarding Plaintiffs' Property made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 24: All bulletins or other communications received
from the Texas Department of Insurance, the Texas Insurance Commissioner, or their agents,
regarding practices in the handling of claims for property damage under Defendant's homeowner
insurance policies in Texas. This request is limited to the last five (5) years.


PLAINTIFFS' REQUEST FOR PRODcCTION                                                          PAGE -24-
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RESPONSE:

REQUEST FOR PRODUCTION NO. 25: All bulletins or other communications received
from the Texas Department of Insurance, the Texas Insurance Commissioner, or their agents,
regarding practices in the handling of claims for property damage, hurricane damage, hail, water
damage, hail damage, roof damages, and/or wind damage under homeowner insurance policies
in Texas. This request is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 26: All materials meant to instruct and guide claims
adjusters under Texas law and/or company policy with regard to unfair claims settlement
practices, unfair claims handling practices, standards to be met in adjusting or handling
Defendant's first property insurance claims, or avoiding charges of bad faith. This request is
limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 27: All materials meant to instruct and guide
Defendant's claims adjuster under Texas law and/or company policy with regard to
understanding and complying with the Texas Insurance Code § 541.06 and/or Article 21.21.
This request is specifically limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 28: All materials meant to instruct and guide
Defendant's claims adjusters under Texas law and/or company policy with regard to
understanding and complying with the Texas Insurance Code § 542.055 et seq. and/or Article
2I .55. This request is specifically limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 29: Any and all materials, documents, statements
and/or files that demonstrate Defendant's net worth and Defendant's net income. This request is
limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 30: Any and all materials, documents, statements
and/or files that reflect complaints and/or lawsuits filed by insured against Defendant regarding
the handing, review and/or adjusting of homeowner insurance claims in Texas. This request is
limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 31: A copy of each advertisement Defendant has used,
published and/or distributed, through any means, in Texas. This request is limited to the last five
(5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 32: Any and all materials, handouts, manuals, outlines,
articles and/or documents used or relied upon by Defendant to conduct any seminars and/or


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continuing education classes for Defendant's employees and/or independent adjusters, regarding
the adjusting and/or handling of homeowner insurance claims, commercial insurance claims, and
property damage claims, hurricane claims, water damage claims, roof damage claims, and/or
wind damage claims in Texas. This request is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 33: Any and all materials, handouts, manuals, outlines,
articles and/or documents issued by Defendant to claims representatives and/or adjusters, or
received by claims representatives and/or adjusters, or relied upon by claims representatives
and/or adjusters, pertaining to the adjusting and/or handling of homeowner insurance claims,
commercial insurance claims, property damage claims, hurricane claims, water damage claims,
roof damage claims, and/or wind damage claims in Texas. This request is limited to the last five
(5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 34: Any and all reference materials, handouts,
manuals, outlines, articles, and/or documents distributed and/or disbursed to Defendant's
employer, employees, agents, and/or representatives in connection with attendance at seminars
and/or continuing education classes regarding the adjusting and/or handling of homeowner
insurance claims., commercial insurance claims, and property damage, hurricane claims, hail,
water damage, roof damage claims and/or wind damage claims in Texas, within the last five (5)
years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 35: Any and all materials reflecting Defendant's
attendance policies for adjusters and claims representatives at seminars and/or continuing
education classes regarding the adjusting and/or handling of homeowner insurance claims,
commercial insurance claims, property damage claims, hurricane claims, water damage claims,
roof damage claims, and/or wind damage claims in Texas. This request is limited to the last five
(5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 36: Any and all materials, documents, files, and/or
reports sent to Defendant by its employer, employees, agents, and/or representatives on a
monthly, weekly, or daily basis regarding Plaintiffs' claim(s). Include any and all field notes and
summaries of the room-by-room scope of Plaintiffs' Property made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 37: Any and all materials, documents, files, and/or
reports containing list(s) of contractors and/or roofing companies that have been approved and/or
recommended for performance of services for Defendant in Texas, specifically related to
homeowner insurance claims. This request is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 38: Any and all computer programs, electronic data,
documents, and/or manuals used by the adjusters and claims representatives to perform property


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damage estimates relating to homeowner insurance claims in Texas, including a complete copy
of the computer program used to adjust Plaintiffs' claim(s). This request is limited to the last
five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 39: Any and all reference materials, handouts,
manuals, outlines, articles, and/or documents that have been distributed by and/or disbursed to
Defendant regarding the price estimates of contractors and changes of those estimates within
different geographical areas of the State of Texas. This request is limited to the last five (5)
years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 40: Any and all materials, documents, files and/or
reports of contractors and roofing companies that have been approved and/or recommended for
performance of services for Defendant in Texas. This request is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 41: Any and all materials, documents, files, invoices,
and/or reports of any and all contractors and roofing companies retained to investigate, inspect,
and/or evaluate Plaintiffs' claim(s) made the basis of this lawsuit, prepared on behalf of the
Defendant.
RESPONSE:

REQUEST FOR PRODUCTION NO. 42: Any and all materials, documents, files, invoices,
and/or reports of any and all contractors and roofing companies retained to investigate, inspect,
and/or evaluate claims similar in nature to Plaintiffs' claim(s) asserted in this lawsuit, prepared
on behalf of Defendant. This request is limited to the State of Texas. This request is specifically
limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 43: A complete copy of the entire personnel file(s) of
any and all adjusters assigned to Plaintiffs' claim made the basis of this lawsuit. This request is
specifically limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 44: The most recent address maintained on file for any
and all adjusters assigned to Plaintiffs' claim made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 45: Any and all documents and/or claim files for
persons or entities that have filed property damage, hurricane damage, hail, water damage, roof
damage, and/or wind damage claims that have been adjusted by any adjusters and/or adjusting
companies on behalf of Defendant.
RESPONSE:




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REQUEST FOR PRODUCTION NO. 46: Any and all activity logs relating to Plaintiffs'
claim(s) for property damage, hurricane damage, hail, water damage, roof damage, and/or wind
damage to Plaintiffs' property, and specifically, the claim(s) made the basis of this suit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 47: Any and all documents reflecting company
guidelines, procedures, or policies that serve as criteria for evaluating whether claims are
covered or excluded by any policy provisions Defendant contends applied to Plaintiffs' claim(s).
RESPONSE:

REQUEST FOR PRODUCTION NO. 48: Any and all organizational charts for Defendant.
RESPONSE:

REQUEST FOR PRODUCTION NO. 49: Any and all organizational charts or diagrams for
each department, unit, or section of Defendant to which Plaintiffs' claim(s) was assigned.
RESPONSE:

REQUEST FOR PRODUCTION NO. SO: Any and all charts or diagrams reflecting the chain
of command or supervisory hierarchy relating to each person involved in handling Plaintiffs'
claim(s).
RESPONSE:

REQUEST FOR PRODUCTION NO. 51: Any and all claims and underwriting files for each
claim involving property damage, hurricane damage, hail, water damage, roof damage, and/or
wind damage made against Defendant, investigated by any and all adjusters assigned to
Plaintiffs' claim made the basis of this lawsuit in Texas. This request is limited to the last five
(5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 52: Any and all demand letters received by Defendant
after the handling of a claim involving property damage, hurricane damage, hail, water damage,
roof damage, and/or wind damage that was adjusted by any and all adjusters assigned to
Plaintiffs' claim made the basis of this lawsuit. This request is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 53: Any and all documents reflecting or relating to
Defendant's decision to pay or deny additional expenses to or on behalf of Plaintiffs in this case.
RESPONSE:

REQUEST FOR PRODUCTION NO. 54:                      Any and all records reflecting payment to
Plaintiffs' claim(s) made the basis of this suit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 55: Any and all documents, including correspondence
and checks, exchanged between Defendant and any and all vendors concerning Plaintiffs'
claim(s).


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RESPONSE:

REQUEST FOR PRODUCTION NO. 56: Any and all documents relating to or reflecting any
and all adjusters assigned to Plaintiffs' claim made the basis of this Lawsuit, from the time of
hiring through the present.
RESPONSE:

REQUEST FOR PRODUCTION NO. 57: Any and all documents relating to the assignment
of Plaintiffs' claim(s) to any and all adjusters assigned to Plaintiffs' claims made the basis of this
lawsuit, from the time of hiring through the present.
RESPONSE:

REQUEST FOR PRODUCTION NO. 58: Any and all documents relating to or reflecting
referrals of vendors to Plaintiffs or any insured.
RESPONSE:

REQUEST FOR PRODUCTION NO. 59: If you are withholding documents based upon the
assertion of a privilege, please produce a privilege log, detailing with reasonable particularity a
description of the documents withheld, the number of documents, and the applicable privilege
which Defendant claims properly precludes the information discovery.
RESPONSE:

REQUEST FOR PRODUCTION NO. 60: Any and all advanced or specialized certifications
of personnel who inspected, investigated, and/or supervised the adjusting of the claim(s)
pertaining to the Property made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 61: Any and all documents, including contracts, rules,
guidelines and/or instructions exchanged between Defendant, Plaintiffs and any and all adjusters
assigned to Plaintiffs' claims made the basis of this Lawsuit, from the time of hiring through the
present, and any other entities with whom Defendant worked or communicated regarding the
Property made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 62: All physical or tangible items and/or potentially
usable evidence obtained by, or on behalf of, Defendant from the scene of the occurrence made
the basis of this suit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 63: Any and all indemnity agreements between
Defendant and any other person, firm, or corporation against which a claim of indemnification
might be brought because of the facts in this lawsuit.
RESPONSE:




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REQUEST FOR PRODUCTION NO. 64: Any and all complaint policies and procedures
regarding the handling by Defendant of complaints made by insured homeowners. This request
is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 65: Copies of all job descriptions of employees that
adjusted or in any way supervised the handling of Plaintiffs' claim(s).
RESPONSE:

REQUEST FOR PRODUCTION NO. 66:                        All non-privileged e-mails regarding the
investigation, adjusting, and/or handling of the claim(s) made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 67: All e-mails between Defendant's adjusters, agents,
supervisors, officers, and/or executives regarding changes in the educational programs relating to
the handling of property damage, hurricane damage, hail, water damage, and/or roof damage
claims.
RESPONSE:

REQUEST FOR PRODUCTION NO. 68: All computer files, databases, electronically-stored
information or computer-stored information regarding the property damage, hurricane damage,
water damage and/or roof damage that have been compiled, prepared, and/or supervised by
Defendant, whether or not they are in Defendant's possession or in the possession of another
entity.
RESPONSE:

REQUEST FOR PRODUCTION NO. 69: True and complete copies of all billing records
from any and all independent adjusters regarding the claim(s) made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 70: True and complete copy of activity logs filed by
the staff and independent adjusters on the file pertaining to the claims(s) made the basis of this
lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 71: Any and all reports, documents, or correspondence
containing the names and locations of all adjusters who have worked on this file to the present.
RESPONSE:

REQUEST FOR PRODUCTION NO. 72: True and complete copies of all billings on the file
from the independent adjusters, including the time sheets or documentation used to justify the
billings.
RESPONSE:

REQUEST FOR PRODUCTION NO. 73: Any and all reports, documents or correspondence
reflecting the reserving and payment history of indemnity, expenses, and vendors on this file


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including but not limited dates, changes and requested made by the adjusters. This request is
limited to last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 74: Any and all lawsuit involving vendors, staff or
management involved with property claims, property damage, hurricane damage, hail, water
damage, roof damage, and/or wind damage claims from 2000 to present.
RESPONSE:

REQUEST FOR PRODUCTION NO. 75: Any and all correspondence and lawsuits
concerning the issues of honesty, conflict of interest, criminal actions, past criminal record,
criminal conduct, fraud investigation and/or inappropriate behavior of any person associated with
the handling of Defendant's claim files, management of property damage, hail, water damage,
roof damage and/or wind damage claims, including staff and vendors.
RESPONSE:

REQUEST FOR PRODUCTION NO. 76: Any and all answers made in previous discovery
requests for lists or databases of property damage, hurricane damage, hail damage, water
damage, roof damage and/or wind damage.
RESPONSE:

REQUEST FOR PRODUCTION NO. 77: Any and all answers and affidavits made by
Defendant and its counsel in previous discovery requests for training procedures, and training
manuals for property damage, hurricane damage, hail damage, water damage, roof damage,
and/or wind damage claims.
RESPONSE:

REQUEST FOR PRODUCTION NO. 78: Any and all reports, documents or correspondence
reflecting the history of payment and reserves on this file.
RESPONSE:

REQUEST FOR PRODUCTION NO. 79: Any and all reports, documents or correspondence
containing names of designated individuals who gave testimony as Person Most Knowledgeable
for claims, property damage, hurricane damage, catastrophe, hail damage, water damage, roof
damage, and/or wind damage claims for 2000 through the present, along with a list of the
lawsuits where testimony was given.
RESPONSE:

REQUEST FOR PRODUCTION NO. 80: Any and all training manuals used by vendors to
train its adjusters on property damage, hurricane damage, hail damage, water damage, roof
damage, and/or wind damage for Defendant. This request is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 81: Any and all correspondence from Defendant to and
from vendors regarding any instructions, procedures, changes, training, payments, and billing for



PLAINTIFFS' REQUEST FOR PRODcCTION                                                      PAGE-31-
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property damage, hurricane, flood, wind, hail and catastrophe claims for 2000 through the
present, including but not limited to computer disks, e-mails, paperwork, and manuals.
RESPONSE:

REQUEST FOR PRODUCTION NO. 82: Any and all correspondence concerning issues with
billing and claims handling with Defendant's vendors, and/or independent adjusting companies.
This request is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 83: Any and all demand letters, lawsuits and/or
subrogation claims filed against any of Defendant's vendors, or by any vendors against
Defendant. This request is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 84: Any and all reports, documents or correspondence
containing lists of attendees, dates, and locations of all meetings conducted by Defendant for all
independent adjusters and Defendant's staff for property damage claims, hurricane damage
claims, flood damage claims, wind damage claims, hail damage claims, water damage claims,
and/or roof damage claims training. This request is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 85: Any and all reports, documents or correspondence
containing lists of files with written complaints or DOl complaints on property damage,
hurricane damage, wind damage, hail damage, water damage, and/or roof damage claims
previously gather and produced in earlier complaints or lawsuits. This request is limited to the
last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. 86: Any and all reports, documents or correspondence
containing lists of all lawsuits or disputes filed against Defendant or its entities or affiliates
nationwide containing an element of property damage, hurricane damage, hail damage, water
damage, roof damage, and/or wind damage for 2000 through present.
RESPONSE:

REQUEST FOR PRODUCTION NO. 87: Copies of the front and back of each negotiated
check made payable to solely or co-payable to Plaintiffs under Plaintiffs' insurance policy in
effect during the time of the insurance claim made the basis of this lawsuit, and which was issued
by Defendant.
RESPONSE:

REQUEST FOR PRODUCTION NO. 88: Copies of the front and back of each negotiated
check made payable solely or co-payable to Plaintiffs regarding the insurance claim made the
basis of this lawsuit.
RESPONSE:




PLAINTIFFS' REQUEST FOR PRODcCTION                                                       PAGE -32-
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REQUEST FOR PRODUCTION NO. 89: Studies commissioned by Defendant, including any
done by a law firm to analyze its claim management strategies, and/or to help it improve
corporate profits.
RESPONSE:

REQUEST FOR PRODUCTION NO. 90: Affidavits or depositions of the employee(s) who
handled Plaintiffs' claim(s), or their supervisors, in all other cases involving the same or similar
allegations in this case.
RESPONSE:

REQUEST FOR PRODUCTION NO. 91: The entire underwriter's file for underwriting the
insurance policy made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 92: All notes, reports, documents, or applications
created and/or generated by Defendant's underwriting department relating to the insurance
policy made the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 93: Please produce your Claims Service record related
to the claim that forms the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 94: Please produce your Activity Log related to the
claim that forms the basis of this lawsuit.
RESPONSE:

REQUEST FOR PRODUCTION NO. 95: Please produce your claims manual that applies or
applied to this claim up to the time that you received a demand letter from Plaintiffs or were
served with the petition in this case.
RESPONSE:

REQUEST FOR PRODUCTION NO. 96: Produce all reinsurance treaties that potentially
apply to the insurance policy in related to the claim, whether or not you have or will notify the
reinsurer of the claim.
RESPONSE:




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                    PLAINTIFFS' FIRST SET OF INTERROGATORIES
                       TO DEFENDANT, STATE FARM LLOYDS


TO:     STATE FARM LLOYDS, Defendant

        NOW COMES, TIM BRECHT and LESA WALTON, Plaintiffs in the above styled and
numbered cause, and requires that STATE FARM LLOYDS, Defendant, answer the following
interrogatories under the provisions of Rule 197 of the Texas Rules of Civil Procedure, and
Plaintiffs requires that answers to same be served upon the THE CORONA LAW FIRM, PLLC
no later than fifty (50) days after the date of the service hereof.

                                                     Respectfully submitted,

                                                     THE CORONA LAW FIRM, PLLC


                                                     By: /s/ JesseS. Corona

                                                     Jesse S. Corona
                                                     Texas BarNo. 24082184
                                                     Southern District Bar No. 2239270
                                                     521 N Sam Houston Pkwy E, Ste. 420
                                                     Houston, Texas 77060
                                                     Office: 281.882.3531
                                                     Facsimile: 713.678.0613
                                                     Jesse@theCoronaLawfirm.com

                                                     ATTORNEY FOR PLAINTIFF

                             DEFINITIONS AND INSTRUCTIONS

         The undersigned party propounds the attached questions to you under the provisions of
Rule 197 of the Texas Rules of Civil Procedure. These questions are being served on your
attorney and answers to the Interrogatories should, to the extent possible, be answered in the
spaces provided; and if additional space is needed, please use additional sheets or the back of the
preceding page. You are notified that this party specifies that the answers shall be filed and
served upon the undersigned on or before the expiration of fifty (50) days from the date of the
service of these questions; and the questions and your sworn answers may be offered in evidence
at the trial of this lawsuit.
         In answering these questions, please furnish all information available to you, including
information in the possession of your attorney, or its investigators, and all persons acting in your
behalf, and not merely such information known of your own personal knowledge. If you cannot
answer the Interrogatory in full after exercising due diligence to secure the information, so state
in your answer and, to the extent possible, answer stating whatever information or knowledge
you have.

PLAINTIFFS' FIRST SET OF INTERROGATORIES                                                   PAGE -34-
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        These Interrogatories are to be considered as continuing, and you are requested to provide
by way of supplemental answers such additional information as you or any other person acting
on your behalf may obtain which will augment or otherwise modify your answers given to the
Interrogatories below. Such supplemental responses are to be filed and served upon this party
immediately upon receipt of such information.

        The following terms shall have the meaning indicated below.

        a. "Person" means natural persons, corporations, partnerships, sole proprietorships,
           unions, associations, or any other kind of entity or its agents, servants and employees.
        b. "Document" means any written instrument, recorded matter of whatever character,
           including but without limitation contracts, letters, purchase orders, memoranda,
           telegrams, notes, catalogs, brochures, diaries, reports, calendars, statements,
           investigative reports, announcements, newspaper articles, photographs, tape
           recordings, motion pictures, and any carbon or photographic copies of any such
           material, and anything else in writing.
        c. "You" and "Your" shall mean the party to whom these questions are directed as well
           as agents, employees, attorneys, investigators and all other persons acting for said
           party.
        d. "Misconduct" is defined as an activity, act, or omission to act which result in a breach
           of warranty, express of implied, violation of any statute, regulation, or industry
           standard, whether relating to safety or otherwise, or a breach of any duty of any care.
        e. "Plaintiffs" is defined as the party who is propounding these Interrogatories to you
           and any of its agents, servants or employees.
        f. "Occurrence" shall mean the accident, event or happening as set forth in the
           Plaintiffs' complaint that has given rise to this lawsuit.
        g. When asked to "describe" a document, state the title, subject matter, author, date,
           addressee, file designation and other identifying designation and the present locations
           and custodian of the document.

        Whenever an Interrogatory asks information concerning a document, you are requested to
attach a copy of that document to your answers.
        In each question wherein you are asked to identify a person, please state with respect to
such person his full name, last known address and home telephone number. If the person to be
identified is not a natural person (e.g. a corporation) give its name and address and principal
business activity.
                                FIRST SET OF INTERROGATORIES
INTERROGATORY NO. 1: State the name, address, telephone number, and position or job
title of all persons answering these interrogatories.
ANSWER:

INTERROGATORY NO.2: State whether Defendant contends that any conditions precedent
to Plaintiffs' recovery has not been met, whether said conditions be stated in the insurance policy
or required by law. If so, state what conditions have not been met.
ANSWER:


PLAINTIFFS' FIRST SET OF INTERROGATORIES                                                  PAGE -35-
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INTERROGATORY NO. 3: List the date(s) Defendant requested that Plaintiffs provide any
named Defendant(s) in this cause of action with requested information that was required in order
to properly evaluate Plaintiffs' claim(s).
ANSWER:

INTERROGATORY NO.4: Please state the following concerning notice of claim and timing
of payment: (a) the date and manner in which Defendant received notice of the claim; (b) the
date and manner in which Defendant acknowledged receipt of the claim; (c) the date and manner
in which Defendant commenced investigation of the claim; (d) the date and manner in which
Defendant requested from the claimant all items, statements, and forms that Defendant
reasonably believed, at the time, would be required from the claimant; and (e) the date and
manner in which Defendant notified the claimant in writing of the acceptance or rejection of the
claim.
ANSWER:

INTERROGATORY NO.5: State whether Defendant contends that Plaintiffs did not provide
any named Defendant(s) in this cause of action with requested information that was required in
order to properly evaluate Plaintiffs' claim(s). If so, state what information was requested and
not provided, and the dates of the requests.
ANSWER:

INTERROGATORY NO. 6: State the name, address, telephone number, and job title or
position of all persons who issued, adjusted, investigated, reviewed, handled, made entries, made
decisions, or exchanged any documents or communications, including electronic, regarding
Plaintiffs' insurance policy or the claim(s) made the basis of this lawsuit, including the name,
address, and telephone number of the supervisor identified person. For any such person who is
no longer an employee, agent, or representative of any defendant, please so indicate and provide
the person's last known address and telephone number.
ANSWER:

INTERROGATORY NO.7: State ever basis, in fact and in the terms of Plaintiffs' policy, for
Defendant's denial or payment and/or recommendation of denial or payment of Plaintiffs'
claims.
ANSWER:

INTERROGATORY NO.8: State every basis, in fact and in the terms of Plaintiffs' policy, for
Defendant's failure to pay the Plaintiffs' full claims.
ANSWER:

INTERROGATORY NO. 9: State the cause number, style, and court for each lawsuit filed
against Defendant in the last five years alleging misconduct, improper claims handling, bad faith,
violations of Texas Insurance Code§ 541.060, formerly known as Article 21.21, or violations of
Texas Insurance Code § 542.055, et seq., formerly known as Article 21.55, in the handling of
first party claims for property damage coverage under homeowner insurance policies.
ANSWER:



PLAINTIFFS' FIRST SET OF INTERROGATORIES                                                 PAGE -36-
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INTERROGATORY NO. 10: State the legal theories and describe the factual basis, for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Texas Insurance Code § 541.060, the violation of which is alleged in Plaintiffs' current live
pleading against Defendant.
ANSWER:

INTERROGATORY NO. 11: State the legal theories and describe the factual basis for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. Ins. Code § 542.055, in that Defendant followed all statutory deadlines, and by no later
than the 15'h day of notice of the claim in the event of a weather-related catastrophe or major
natural disaster, as defined by the commissioner, the claim-handling deadlines under this
subchapter are extended for an additional 15 days acknowledged receipt of the claim,
commenced investigation of the claim, and requested any proper documents from Plaintiffs'
reasonably believed necessary to conduct such investigation, made additional requests during the
investigation as necessary, and if acknowledged of receipt of the claim was not in writing, made
record of the date, manner and content, as refuted in Plaintiffs' current live pleading against
Defendant.
ANSWER:

INTERROGATORY NO. 12: State the legal theories and describe the factual basis for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. Ins. Code § 542.056, in that Defendant followed all statutory deadlines by notifying
Plaintiffs' in writing the acceptance or rejection of Plaintiffs' claim no later than the 15'h
business day after receipt of any requested information from Plaintiffs', in the event of a
weather-related catastrophe or major natural disaster, as defined by the commissioner, the claim-
handling deadlines under this subchapter are extended for an additional 15 days), including
stating the reason if rejected or explanation of why Defendant could not do so within that time,
as refuted in Plaintiffs' current live pleading against Defendant.
ANSWER:

INTERROGATORY NO. 13: State the legal theories and describe the factual basis for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. Ins. Code § 542.058, in that Defendant after receiving all items, statements, and forms
reasonably requested and required under § 542.055, delays payment of the claim for a period
exceeding the period specified by other applicable statutes or, if other statutes do not specify a
period, for more than 60 days, the insurer shall pay damages and other items as provided by §
542.060, except where it is found as a result of arbitration or litigation that a claim received by
an insurer is invalid and should not be paid by the insurer, receiving all necessary information,
Defendant did not delay in making payments for more than 60 days, as refuted in Plaintiffs'
current live pleading against Defendant.
ANSWER:

INTERROGATORY NO. 14: State the name, address, and telephone number of each
policyholder who gave Defendant written notice, within the last five years, of a complaint about
Defendant's handling of first party claims for property damage coverage under homeowner
insurance policies in Texas.


PLAINTIFFS' FIRST SET OF INTERROGATORIES                                                  PAGE -37-
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ANSWER:

INTERROGATORY NO. 15: State the name, address, and telephone number of each
policyholder from whom Defendant recorded a complaint within the last five years, about
Defendant's handling of first party claims for property damage coverage under homeowner
policies in Texas.
ANSWER:

INTERROGATORY NO. 16:                 For each complainant identified in the responses to
interrogatories 14 and 15, state whether any communication was exchanged between Defendant
and any Texas governmental regulatory agency regarding the complaint. If the response is yes,
for any such complainant, state the name of the agency, the names of all investigators, and the
names of all government representatives with whom Defendant communicated for purposes of
the investigation.
ANSWER:

INTERROGATORY NO. 17: For each investigation by a Texas governmental agency within
the last five years into Defendant's practices when handling first party claims for property
damage coverage under homeowner/commercial policies, state the name of the agency, the
names of all investigators, and the names of all government representatives with whom
Defendant communicated for purposes of the investigation.
ANSWER:

INTERROGATORY NO. 18: Identify by name, address, and telephone number, all persons
and/or entities that have filed property damage claims, hurricane damage claims, hail damage
claims, water damage claims, roof damage claims and/or wind damage claims with Defendant
that have been adjusted by any and all adjusters assigned to Plaintiffs' claim made the basis of
this lawsuit, from the time of hiring through the present.
ANSWER:

INTERROGATORY NO. 19: Please state whether Defendant took, or is aware of the taking
of, a recorded statement and/or examination under oath of any representative, or agent of, or any
person employed by, Plaintiffs regarding the claim made the basis of this lawsuit. If a recorded
statement and/or examination under oath was taken, please state the date it was taken and the
name of the person taking the statement. Please also state whether the statement was transcribed,
where the statement is currently located, and/or the last place Defendant saw a transcription of
same.
ANSWER:

INTERROGATORY NO. 20: Identify by name, address, and telephone number, all persons
and/or entities, agency or agents, and brokers that have issued Plaintiffs' policy.
ANSWER:

INTERROGATORY NO. 21: Identify by name, address, and telephone number, all persons
and/or entities, agency or agents, and brokers that prepared Plaintiffs' Policy including the
Property made basis of the claim(s).


PLAINTIFFS' FIRST SET OF INTERROGATORIES                                                PAGE -38-
  Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                Page 43 of 66 PageID 94


ANSWER:

INTERROGATORY NO. 22: Identify by name or company name, address, and telephone
number any engineer(s) and/or engineering company(s), used to evaluate Plaintiffs' claim(s), the
name(s) of each prior claim each such person(s) and/or company(s) worked for Defendant, the
date(s) of the reports, and the address of the Property for which the inspection was done.
ANSWER:

INTERROGATORY NO. 23: For each of the above listed engineer(s) or engineering
company(s), list the compensation received from Defendant for any services and work performed
in the last five years.
ANSWER:

INTERROGATORY NO. 24: When was the date Defendant anticipated litigation?
ANSWER:

INTERROGATORY NO. 25: For each of the above listed engineer(s) or engineering
company(s), list the compensation received from Defendant for any services and work performed
in the last five years.
ANSWER:

INTERROGATORY NO. 26: Does Defendant claim that Plaintiffs failed to mitigate their
damages~   If so, describe how Plaintiffs failed to do so, identifying any resulting prejudice
caused to Defendant.
ANSWER:

INTERROGATORY NO. 27: Describe how Defendant determined whether overhead and
profit ("O&P") should be applied to the claim made the basis of this lawsuit, identifying the
criteria for that determination.
ANSWER:

INTERROGATORY NO. 28: To the extent Defendant utilized an estimating software
program and modified the manufacturer's settings with respect to Plaintiffs' claim, identify those
modifications.
ANSWER:

INTERROGATORY NO. 29: Identify all price lists used to prepare all estimates on the claim
made the basis of this lawsuit, stating the manufacturer version, date and geographical area.
ANSWER:




PLAINTIFFS' FIRST SET OF INTERROGATORIES                                                 PAGE -39-
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                        PLAINTIFFS' REQUEST FOR ADMISSIONS
                         TO DEFENDANT, STATE FARM LLOYDS


TO:    STATE FARM LLOYDS, Defendant

       NOW COMES, TIM BRECHT and LESA WALTON, Plaintiffs in the above styled and
numbered cause, and requires that STATE FARM LLOYDS, Defendant, answer the following
Requests for Admissions, and Plaintiffs requires that responses to same be served upon the
undersigned no later than fifty (50) days after the date of the service hereof.

                                                Respectfully submitted,

                                                THE CORONA LAW FIRM, PLLC


                                                By: /s/ JesseS. Corona

                                                Jesse S. Corona
                                                Texas Bar No. 24082184
                                                Southern District Bar No. 2239270
                                                521 N Sam Houston Pkwy E, Ste. 420
                                                Houston, Texas 77060
                                                Office: 281.882.3531
                                                Facsimile: 713.678.0613
                                                Jesse@theCoronaLawfirm.com

                                                ATTORNEY FOR PLAINTIFF

                                REQUEST FOR ADMISSIONS

REQUEST FOR ADMISSION NO. 1: Admit the Defendant's principal place of business is
Texas.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 2:               Admit the Defendant conducts the business of
insurance in Texas.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 3:              Admit the Defendant insured Plaintiffs' property
against wind and hail damage.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 4: Admit the Defendant has been reported to the Texas
Department oflnsurance for the mishandling of claims in the last five (5) years.


PLAINTIFFS' REQUEST FOR ADMISSIONS                                                PAGE -40-
  Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16         Page 45 of 66 PageID 96


ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 5: Admit the Plaintiffs' property sustained wind damage
as a result of the windstorm that makes the basis of this lawsuit.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO.6: Admit the Plaintiffs' roof sustained wind damage as a
result of the windstorm that makes the basis of this lawsuit.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 7: Admit the windstorm created openings in Plaintiffs'
roof whereby water leaked into the interior of Plaintiffs' home causing damage.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 8: Admit the as a result of water leaking into Plaintiffs'
home, Plaintiffs' personal property was damaged.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 9: Admit the exterior of Plaintiffs' home sustained wind
damage as a result of the windstorm that makes the basis of this lawsuit.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 10: Admit the windstorm that damaged Plaintiffs'
property was a covered occurrence under Plaintiffs' insurance policy with the Defendant
msurance company.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 11: Admit the Plaintiffs' property sustained hail damage
as a result of the hailstorm that makes the basis of this lawsuit.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 12: Admit the Plaintiffs' roof sustained hail damage as a
result of the hailstorm that makes the basis of this lawsuit.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 13: Admit the exterior of Plaintiffs' home sustained hail
damage as a result of the hailstorm.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 14: Admit Plaintiffs' personal property was damaged as a
result of the hailstorm.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 15: Admit the hailstorm that damaged Plaintiffs' property
was a covered occurrence under Plaintiffs' insurance policy with the Defendant insurance
company.


PLAINTIFFS' REQUEST FOR ADMISSIONS                                              PAGE -41-
  Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                Page 46 of 66 PageID 97


ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 16: Admit the Defendant improperly and unreasonably
adjusted Plaintiffs' claim.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 17: Admit the Defendant performed an outcome-oriented
investigation of Plaintiffs' claim.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 18: Admit the Defendant did not conduct a reasonable
investigation of Plaintiffs' damage.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 19: Admit the Defendant has unreasonably delayed
payment to the Plaintiffs and failed to fairly settle Plaintiffs' claim even though liability was
reasonably clear.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 20: Admit the Defendant was not open and honest in its
adjustment of Plaintiffs' claim.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 21: Admit the Defendant failed to make an attempt to
settle Plaintiffs' claim in a fair manner.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 22: Admit the Defendant misrepresented to Plaintiffs that
the damage to Plaintiffs' Property was not covered under the Policy.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 23: Admit the Defendant misrepresented to Plaintiffs that
the damage to Plaintiffs' Property did not need to be replaced.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 24: Admit the Defendant was aware that the damage to
Plaintiffs' Property warranted replacement and not repair.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 25: Admit the Defendant took advantage of Plaintiffs'
lack of knowledge and expertise.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 26: Admit the Defendant engaged in false, misleading,
and deceptive acts or practices in the business of insurance in the handling of Plaintiffs' claim.
ADMIT OR DENY:


PLAINTIFFS' REQUEST FOR ADMISSIONS                                                       PAGE -42-
  Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                 Page 47 of 66 PageID 98


REQUEST FOR ADMISSION NO. 27:                      Admit the Defendant made material false
representations and/or material false promises to Plaintiffs.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 28: Admit the Defendant intended that Plaintiffs would
rely on these false representations and upon which Plaintiffs did reasonably rely to its detriment.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 29: Admit the Defendant breached its insurance contract
with Plaintiffs.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 30: Admit the Defendant failed to provide its adjuster
with policies, guidelines, and/or materials pertaining to the lawful handling of insurance claims.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 31: Admit the Defendant purposely denied and/or
underpaid Plaintiffs' claim in order to continue making profit off of Plaintiffs.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 32: Admit the Defendant provides incentives and/or
bonuses to its adjusters for closing out claims without adequate payment.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 33: Admit the Defendant provided a bonus to its adjuster
in relation to Plaintiffs' claim.
ADMIT OR DENY:




PLAINTIFFS' REQUEST FOR ADMISSIONS                                                        PAGE -43-
  Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16             Page 48 of 66 PageID 99


                               CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing Request for Disclosure,
Request for Production, First Set of Interrogatories, and Requests for Admissions has been
served upon Defendant by serving its Registered Agent at the same time Defendant was served
with a copy of Plaintiffs' Original Petition.


                                                   Is/ JesseS. Corona
                                                  Jesse S. Corona




CERTIFICATE OF SERVICE                                                               PAGE -44-
Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16   Page 49 of 66 PageID 100




                          Document 3
                                                                                                     Filed 6/21/2016 2:09:34 PM
                                               Ellis County- 443rd District Court
          Case 3:16-cv-02320-K Document 1-2 Filed                      08/10/16 Page 50 of 66 PageID 101 Melanie Reed
Ellis County District Clerk                                                  Questions: 972-825-5091                 District Clerk
                                                                                                              Ellis County, Texas



                                               E-FILING REQUEST FOR ISSUANCE
                                 CITATIONS,WRITS,NOTICE,PRECEPT,TRO, ETC ..
            •    This document Must be filed as a separate LEAD document when e-filing
            •    Choose the filing code "Request" and add the type of issuance in the description field
            •    Select the type of issuance using the "Optional Services" section on thee-filing screen
            •    If a service document is required, you MUST add the copies using the "Optional Services" section, select Certified
                 Copies/Regular Copies and add as many pages as needed.(Ex: Petition is 5 pages, 3 citations are requested: Sx3=15
                 pages will need to be printed by Clerk at $1.00 per page).
                              93999                                    Document to
        cause No.                                                      be served: Plaintiffs' Original Petition
        Style of Case: Tim Brecht and Lesa Walton vs. State Farm Lloyds




                       PLEASE USE THIS FORM WHEN REQUESTING ISSUANCE OF THE BELOW
                               LISTED TYPES OF ISSUANCE THROUGH THEE-FILING SYSTEM.
           PLEASE USE OTHER REQUEST FORMS FOR: ABSTRACTS, EXECUTIONS, SUBPOENAS AND ORDER WITHHOLDING




                               Please select the type and quantity of issuance(s) needed:


   Type                                   Amt.     Quantity           Type                            Amt.         Quantity
   Citation                               $8        X                 Writ:   Attachment              $8
   Notice                                 $8                          Writ:   Certiorari              $8           ---
   Precept                                $8                          Writ:   Commitment              $8
   Temporary Restraining Order            $8        ---               Writ:   Garnishment             $8           ---
   Scire Facias                           $8                          Writ:   Possession              $8
   Letter Rogatory                        $8                          Writ:   Sequestration           $8
   Show Cause Notice                      $8        ---               Writ:   Turnover                $8           ---
                                                                      Writ:   Other                   $8           ---



                       All service payment options are chosen by picking the correct options in the
                                                 "Optional Service" section of e-filing




                                                                  1
 Case 3:16-cv-02320-K       State Farm Lloyds
                               Document   1-2 Filed 08/10/16 Page 51 of 66 PageID 102
Name of Party to be served:                                             Type:------
                    211 East 7th Street, Suite 620, Austin, Texas 78701-3218
Address for s e r v i c e : - - - - - - - - - - - - - - - - - - - - - - - - - - - -




Name of Party to be served: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                  Type: _ _ _ _ __

Address for s e r v i c e : - - - - - - - - - - - - - - - - - - - - - - - - - - - -




Name of Party to be served: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                  Type: _ _ _ _ __

Address for s e r v i c e : - - - - - - - - - - - - - - - - - - - - - - - - - - - -




               Please attach additional pages if there are more parties to be served.



  ALL CITATIONS WILL BEE-FILED BACK TO YOU UNLESS YOU CHOOSE

                     ONE OF THE FOLLOWING OPTIONS.

 D    I have paid for a copy of the document to attach to the issuance and would like it sent
      by certified mail.

 D    I have paid for a copy of the document to attach to the issuance and would like it
      served by Ellis County Sheriff/Constable: SHF0; PCTl 0 ; PCT2          0;
                                                                            PCT30;
      PCT40

 D    I have paid for a copy of the document to attach to the issuance and would like it
      served by posting. (A Motion & Order are required.)

 D    I would like issuance served by Publication. (A Motion & Order are required.)
      Name of P u b l i c a t i o n - - - - - - - - - - - - - - - - - - - - - - -


 Requestor Name: Jesse Corona, The Corona Law Firm
 Phone No. 281-882-3531
 E-Mail Address: jesse@thecoronalawfirm.com

                                                 2
           Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                                                                                                                           Page 52 of 66 PageID 103
                                    THE STATE OF TEXAS
                                     COUNTY OF ELLIS
                                                                                                                CAUSE NO: 93999
                                                                                                                        CITATION


TO:      STATEFARMLLOYDS
        REG. AGENT, CORPORATION SERVICE CO
        211 E. 7TH ST, STE 620,
        AUSTIN, TX 78701-3218

Defendant, in the hereinafter styled and numbered cause: 93999

You are hereby commanded to appear before 443RD JUDICIAL DISTRICT COURT of ELLIS COUNTY, TEXAS to be held at th
courthouse of said county in the City of Waxahachie, County of Ellis County, Texas, by filing a written answer to the petition o
Plaintiff at or before 10:00 A.M. of the Monday next afl;erthe expiration .9f 20 days after the date of service hereof, a copy of whic '
accompanies this citation, in cause number 93999.styled · · J ' · ···     -' · : ··
                                                                              •"•     '_j                                                                                  T


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                                                                                     BRECHT,Til\f'& WALTON,OLESA. C
                                                                                      .. :. .. . - _ . ~ VS- . .. .
                                                                                             .. ~TATE-FARM LLOYDS

Filed in said court on the 06/2112016                                                                .
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The name and address of the attorney for p~airtiff;·.ot the· addt;~ss of t})e pl!!_!ntif[\is: JESSE CORONA , 521 N SAM HOUSTO
PKWY E, STE 420, HOU~TON, TX 7706p;·                             : l.               . ..: ~ ' .      ..
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NOTICE TO DEFENDANT:· "You have. b'~er'sued. Y-;m Il1~Y eniploy·ari attom(':y. Ih'011 ,or'your attorneys do not file a written
answer with the clerk who~issued this btatioil by: 10:00 A.M ..on·t~e Monday next follqwilig t~e expiration of 20 days after you were
served this citation and peti~ion, IfDefault.Judgmerit.may betaken against you." · · . ·. <
                          •           •               '       '   I           '>      , '     '"                          '                                          '''        /,,            •       <'              '               •




                   Dis~ict Clerk offhe::~~;~ct C~urt of Ellis. CountY, T6~a~_:.:.. -~-. ' . ·
WITNESS: Melanie Reed;

ISSUED AND GIVEN UNDER MY HA~6~~Atri:·~EAi.·oF SAID COURT-~T~COUNTY. OF ELLIS, TEXAS, ON THIS THE
23rddayofJune,2016.                        ·.-.·.                     .··.. · ·-·~ .·.·-~ ·-:~ ·                                         · ..     '·. _:-____ ..                      --                     " -:                 ·
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                                                                                                                                                           · Melanie Reed, District Clerk
                                                                                                                  - .. .._ .... "                 '    I     1_Q9 s~ Jac'li~Ori 'Street Rm. 209
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             Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                                   Page 53 of 66 PageID 104
                                                OFFICER'S RETURN- CAUSE# 93999

 BRECHT, TIM                                                              IN THE 443RD JUDICIAL DISTRICT COURT
 WALTON, LESA                                                                                               OF
 -VS-                                                                                      ELLIS COUNTY, TEXAS
 STATE FARM LLOYDS

NAME AND ADDRESS FOR SERVICE:
STATE FARM LLOYDS
REG. AGENT, CORPORATION SERVICE CO
211 E. 7TH ST, STE 620,
AUSTIN, TX 78701-3218

Came to hand on the _ _ day of                                 , 20_ _, at                 , o'clock _ _.m., and executed in
                               County, Texas by delivering to each of the within named defendants, in person, a true copy of this
-=:----:-----:-c:--:-:-----c::-:-=
Citation with the date of delivery endorsed thereon, together with the accompanying copy of the PLAINTIFF'S ORIGINAL
PETITION, at the following times and places, to-wit:

 Name                                        Date/Time                   Place, Course and Distance from Courthouse


And not executed as to the defendant(s), ------------------~---

The diligence used in fmding said defendant(s) being:

and the cause or failure to execute this process is:

and the information received as to the whereabouts of said defendant(s) being:


 FEES:                                                          -----------------''Officer
 Serving Petition and Copy $....,----                           _ _ _ _ _ _ _ _ ___.,County, Texas
 Total                      $_ __
                                                                By: _ _ _ _ _ _ _ _ _ _ _., Deputy


                                                                ------------~Affiant

COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return. The
return must either be verified or be signed under penalty of perjury. A return signed under penalty of perjury must contain the statement
below in substantially the following form:

"My name is ----:-:::-----::-:-:--::-::----:-c----:---,--' my date of birth is _ _ _ _ _ _ , and my address is
               (First, Middle, Last)

(Street, City, Zip)
I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
Executed in          County, State of ___, on the    day o f - - - - - - - -


                                                                  Declarant/Authorized Process Server

                                                                  (ld # & expiration of certification)
RETURN TO:
Melanie Reed Ellis County District Clerk
109 S. Jackson Street Rm. 209
Waxahachie, TX 75165
                                                STATE OF TEXAS         §
                                                COUNTY OF ELLIS        §
                                               SIGNED under oath before me on this _ _day of _ _ _ _ _ _ __.;>20

                                                                                                                 Notary Public, State of Texas
Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16   Page 54 of 66 PageID 105




                          Document 4
        Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                                                              Page 55 of 66 PageID 106
                                                                                       93999                                          Filed 7/19/201610:47:17 AM
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                                                                                                                               ""-·                           eed
                                                       -THL1511S'fl:l\!~ OFJc~:.N.As                                                                   Distri lerk
                                                            COUNTY OF ELLIS                                                                     Ellis County exas
                                                                 CAUSE NO: 93999
                                                                         CITATION


TO:     STATE FARM JLLOYDS
       REG. AGENT, CORPORATION SERViCE CO
       211 E. 7TH ST; STE 620,
       AUSTIN, TX 78701~3218

Defendant, in the hereinafter styl~d ~nd numbered cause: 93999

You are hereby commanded to appear before 443RD JUDICIAL DISTRICT COURT of ELLIS COUNTY, TEXAS to be held at th
courthouse of said county in the City of Waxahachie, County of Ellis County, Texas, by filing a written answer to the petition o
Plaintiff at or before 10:00 A.M. of the Monday .next ~~r-tht;l'~xpiration .pf.fO days after the date of service hereof, a copy of whi
accompanies this citation, in cause number 93999.st'ylei:i · ·. ; · ···    .. · : . · · .
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               Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                                                                                 Page 56 of 66 PageID 107

                                                                                                OFFICER'S RETURN'- CAUSE# 93999

    BRECHT, TIM.                                                                                                         IN THE 443RD JUDICIAL DISTRICT COURT
    WALTON,-LESA                                                                                                                                                              OF
    -VB-                                                                                                                                          ELLIS COUNTY, TEXAS
    STATE FARM LLOYDS

NA1'\1E AND ADD.'I{ESS FOR SERVICE:
STATEFARMLLOYDS
REG. AGENT, CORPORATION SERVICE CO
211E. 7TII ST, STE 620,
AUSTIN, TX 78701-3218

Came         ~and on the .3                                  day of             Jvrt                       .·         ,20/b       at   /tJ SV       o'clock   A.m., and ex~cuted fu
.           'J ft,il-'V i 5                               . Comity, Texas y delivering to each of the within named defendants, in person, a true copy of this
Citation with the date ofdelivery endorsed thereon, together with the accompanying copy of the PLAINTIFF'S ORIGINAl:.
PETI'IJON, at the following times and places, to-wlt:

                                                                                              DatejTiJ¥e                Place, Course and Distance from Courthouse
                                                                                               '7 II J.JI b ~. I fJ I 1 <f k'At     Zfl e , 7 rn..~-rn-673·-r+ -5i"IE. {:. -ziJ
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And not executed a5 to the defendant(s), --...,.----------------~---

The diligence used in tmding said defendant(s) being:

and the cause or failure to execute this process is:

and the information received as to the whereabouts of said defendant(s) bein~;



    ~~X:~ Petition and Copy $ 8~                                                                                --------...,..----''Officer
                                                                                                                _ _ _ _ _ _ _ ___,County, Texas
    Total                                                         $ [f.!{'
                                                                                                                By:                                   ,Deputy

                                                                                                            Qdww; 4---~.m
COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF. CONSTABLE, OR CLERK OF THE COURT.
ln accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return. The
return must either be verified or be signed under penalty of perjury. A return signed under penalty of perjury must contain the statement
below in substantially the following form:                                                  ·

"My name is                        ::/PI-ft.J;.Jy ~t-'] ;4~Y date of birth is                                          3/tz- /.rc;       ,and my address is
                          ?{/~s~Midd~~~N4 tL{PA£"16 ':5PM,1f4 , ~                                                                               7?37'7'
(Street, City, Zip)                                                     · '         '
I .DECLARE UN                                PENALTY OF PERJURY THAT THE FOREGOiNG IS TRUE AND CORRECT.
Executed in      I                           vl"? County; State of 1§tlon the II . day of J1.J?vj Zolf.::>
                                                                                                                                           /L/!;L~


RETURN TO:
Melanie Reed Ellis County District Clerk
109 S. Jackson Street Rm. 209
Waxahachie,                     TX 75165
                                                                                                 STATE OF TEXAS               §
                                                                                                 COUNTY OF ELLIS         ·§     ·       tJ
                                                                                                SIG}!'ED under oath before me on ~his _ 7_day        .f--"-~---,~--;;""--1r-~ft::::
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Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                     Page 57 of 66 PageID 108




         State Farm Uoyds
         Corporation Service Corporation
         21 ! E-,7' 11 Street, Suite 620
          Austin, Texas 78701-:3218




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Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16   Page 58 of 66 PageID 109




                          Document 5
                                                                                            Filed 7/29/2016 4:11:16 PM
  Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                     Page 59 of 66      PageID 110 Melanie Reed
                                                                                                            District Clerk
                                                                                                     Ellis County, Texas


                                          CAUSE NO. 93999

TIM BRECHT,                                         §            IN THE DISTRICT COURT
LESAWALTON                                          §
                                                    §
        Plaintiffs,                                 §
                                                    §            443Ro JUDICIAL DISTRICT
vs.                                                 §
                                                    §
STATE FARM LLOYDS                                   §
     Defendant.                                     §            ELLIS COUNTY, TEXAS


              ORIGINAL ANSWER OF DEFENDANT STATE FARM LLOYDS


TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES Defendant State Farm Lloyds ("State Farm'') and hereby files its Original

Answer to Plaintiffi;' Original Petition, and for same would show the Court as follows:

                                                    I.

        Defendant State Farm denies each and every, all and singular, the allegations set forth in

Plaintiffs' Original Petition, and demands strict proof thereof upon a trial ofthis cause before a jury.

                                           JURY DEMAND

         In accordance with Rule 216 ofthe Texas Rules of Civil Procedure, Defendant State Farm

demands a trial by jury. A jury fee will be paid.




ORIGINAL ANSWER OF DEFENDANT STATE FARM LLOYDS Page I
 Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                   Page 60 of 66 PageID 111


                                              Respectfully submitted,

                                              THELAW0FFICEOF ARMAI'iDO DE DIEGO, P.C.




                                              By:      /s/    Armando De Diego
                                                      ARMANDO DE DIEGO
                                                      State BarNo. 05635400
                                                      Email: adediego@dediego.com

                                                      HARVEY G. JOSEPH
                                                      State BarNo. 11027850
                                                      Email: hjoscph@dcdicgo.com

                                              1201 W. Griffin Street
                                              Dallas, Texas 75215-1030
                                              Telephone:     (214) 426-1220
                                              Facsimile:     (214) 426-1246

                                              ATTORN!c'YS FOR DEf'ENDANT STATE FARM LWYDS



                                  CERTIF1CATE OF SERVICE

      This is to certifY that on the 29'" day of July, 2016, a true and correct copy of the foregoing
document has been personally served, as indicated below:

     Mr. JesseS. Corona                              ~       Via Electronic Service
     THECOROI'iA LAW FIRM, PLI£                              Via Certified Mail
     521 N. Sam Houston Parkway E, Suite 420                 Via Facsimile
     Houston, Texas 77060
                                                     _ _ Via Regular Mail




                                                  Is/ Armando De Diego
                                              ARMANDO DE DIEGO




ORIGINAL ANSWER OF DEFENDANT STA IE FARM LLOYDS Page 2
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                          Document 6
Certified Payments·                                                                                                                                              Page 1 of 1
      Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                                                                                        Page 62 of 66 PageID 113




  CERTIFIED PAYMENTS- PRINT RECEIPT
 This is a receipt for your payment. Please print this webpage and keep a copy for your records.
 1 Approved Transaction


  PAYMENT DETAILS

  Case Number: 93999                                                                        54.00                             2.16                                                   Approved
  Payment ld: 100141138975

  Total Amount Charged:                                                                     56.16



  BILLING INFORMATION

  ARMANDO DE DIEGO, MR
  1201 WGRIFFIN ST
  DALLAS, TX, USA 75215
  (214)426-1220
  ljobes@dediego.com
  Card ending in ... 8409




  LEGAL NOTICE
 Certified Payments provides a service for consumers and businesses to make payments via their credit card for various types of services and taxes.   By utilizing Certified Payments, you, ~he cardholder, are subject
 to the following terms and conditions. By submitting your payment through Certified Payments, you are agreeing to the terms and conditions listed In the Legal Notices link below. Please read all terms and
 conditions carefully.


  1-866-539-2020




https://interfaces.certifiedpayments.net/GenericSTI/DigitalReceipt.aspx                                                                                                                                 8/5/2016
    Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                  Page 63 of 66 PageID 114
 REC NO: 381012
                                    Ellis County, Texas
                                 Melanie Reed, District Clerk
                                     109 S. Jackson Street Rm. 209
                                       Waxahachie, Texas 75165
                                            (972) 825-5091

       DATE : 08/05/2016                                                          TIME : 03:02pm

      YOUR CASHIER WAS: JWRAY                                                     REGISTER NO : 9

       RECVD FROM:    ARMANDO DE DIEGO


     ITEM DESCRIPTION             GFE NO.   CLERK/CAUSE NO.            QTY                    i FEES PAID

PHOTO COPIES                                   93999                     54                         $54.00

                                                     TOTAL FEES PAID                                $54.00


                                                           ··················AMOUNT TENDERED~--·-···--····

                                                        CASH RECEIVED                                $0.00
                                                        CHECKS RECEIVED                              $0.00
                                                        CC RECEIVED                                 $54.00
                                                        TIME SERVED                                  $0.00
                                                        WAIVED FEES                                  $0.00
                                                        DEPOSITORY DEBIT                             $0.00
                                                        DIRECT DEPOSIT                        :   _________
                                                                                                     $0.00

                                                               TOTAL RECEIVED                       $54.00

                                                           ····-········-·TRANSACTION SUMMARY····-·········

                                                       TOTAL RECEIVED                               $54.00
                                                       TOTAL FEES PAID                              $54.00
                                                                                              I------------
                                                                 CHANGE DUE BACK                   $0.00


                                                           ••••••••••• CREDIT CARD AUTHORIZATION ·-·······

                                                          AUTH # 100141138975            $54.00

 REC NO. 381012 CLOSED
                                                                        Thank you
                                                                     .?II~~
                                                                        District Clerk
Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16   Page 64 of 66 PageID 115




                          Document 7
  Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                    Page 65 of 66 PageID 116


                                         CAUSE NO. 93999

TIM BRECHT,                                            §         IN THE DISTRICT COURT
LESA WALTON                                            §
                                                       §
        Plaintiffs,                                    §
                                                       §         443RD JUDICIAL DISTRICT
VS.                                                    §
                                                       §
STATE FARM LLOYDS                                      §
     Defendant.                                        §         ELLIS COUNTY, TEXAS


                                      NOTICE OF REMOVAL


TO:     Clerk, 443rd Judicial District Court of Ellis County, Texas

        and

        Plaintiffs Tim Brecht and Lesa Walton, by and through their attorney of record, Mr. Jesse
        Corona, THE CORONA LAW FIRM, PLLC, 521 N. Sam Houston Parkway E, Suite 420,
        Houston, Texas 77060

        Notice is hereby given that Defendant in the above-entitled action, State Farm Lloyds, filed

in the United States District Court for the Northern District of Texas, Dallas Division, a Notice of

Removal of the above-entitled action to said United States District Court from the 443rd Judicial

District Court, Ellis County, Texas, pursuant to 28 U.S.C. §§ 1332 and § 1441. A copy of the Notice

is attached hereto as Exhibit 1 and served herewith.

        Notice is further given that the above-named Defendant filed this Notice and a copy of said

Notice of Removal with the Clerk of the 443rd Judicial District Court of Ellis County, Texas, as

required by law.




NOTICE OF REMOVAL - Page 1
  Case 3:16-cv-02320-K Document 1-2 Filed 08/10/16                   Page 66 of 66 PageID 117


       Dated this 10th day of August, 2016.



                                              Respectfully submitted,

                                              THE LAW OFFICE OF ARMANDO DE DIEGO , P.C.


                                              By:     /s/ Armando De Diego
                                                      ARMANDO DE DIEGO
                                                      State Bar No. 05635400
                                                      Email: adediego@dediego.com

                                                      HARVEY G. JOSEPH
                                                      State Bar No. 11027850
                                                      Email: hjoseph@dediego.com

                                              1201 W. Griffin Street
                                              Dallas, Texas 75215-1030
                                              Telephone:     (214) 426-1220
                                              Facsimile:     (214) 426-1246

                                              ATTORNEYS     FOR   DEFENDANT STATE FARM LLOYDS

                                  CERTIFICATE OF SERVICE

        This is to certify that on this, the 10th day of August, 2016, a true and correct copy of the
foregoing document has been personally served, as indicated below:

         Mr. Jesse Corona                                  U      Via Electronic Service
         THE CORONA LAW FIRM, PLLC                      ______ Via Certified Mail, RRE
         521 N. Sam Houston Parkway E, Suite 420        ______ Via Facsimile
         Houston, Texas 77060
                                                        ______ Via Regular Mail




                                                 /s/ Armando De Diego
                                              ARMANDO DE DIEGO




NOTICE OF REMOVAL - Page 2
